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               Case  Team Holdings,
                                 DocLLC  Amended
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                                              10/18/19   of Creditors
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